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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
ROBERT BELCHER and                        )
ZARINA BELCHER,                           )
                                          )
            Plaintiffs,                   )                 Civil Action No. 1:20-cv-10511
                                          )
v.                                        )
                                          )
BANK OF NEW YORK MELLON,                  )
SELECT PORTFOLIO SERVICING,               )
INC., ORLANS PC AND JOHN                  )
DOES 1-10                                 )
                                          )
            Defendants.                   )
__________________________________________)


                                   NOTICE OF REMOVAL

To:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF MASSACHUSETTS

       Pursuant to 28 U.S.C. §§ 1331, 1332, 1441 and 1446, Defendants The Bank of New York

Mellon, formerly known as The Bank of New York as successor Trustee to JPMorgan Chase Bank,

N.A., as trustee for the Certificateholders of Structured Asset Mortgage Investments II Trust 2006-

AR4 Mortgage Pass-Through Certificates, Series 2006-AR4 (“Bank of New York”), identified in

the Complaint as Bank of New York, Mellon and Select Portfolio Servicing, Inc. (“SPS”)

(collectively “Defendants”), hereby remove to this Court the civil action entitled Robert Belcher,

et al. v. Bank of New York, Mellon, et al., pending as Docket No. 2084CV00550 in the Superior

Court Department of the Massachusetts Trial Court, Suffolk County, Boston, Massachusetts.

Plaintiffs also name the law firm of Orlans PC (“Orlans”) as a Defendant in this action. In support
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of this Notice of Removal, Defendants Bank of New York and SPS, with consent from Orlans,

state as follows:

                                   FACTUAL BACKGROUND

       1.        On or about February 27, 2020, plaintiffs Robert Belcher and Zarina Belcher

(“Plaintiffs”) filed a Complaint (the “Complaint”) against Defendants in the Superior Court

Department of the Massachusetts Trial Court, Suffolk County, Boston, Massachusetts.

       2.        Fewer than thirty (30) days have elapsed since counsel for Defendants learned of

the Complaint.

       3.        Pursuant to U.S.C. § 1446(a), Defendants attach a copy of the Complaint and all

other available papers filed in the state court action as Exhibit A.

                                  GROUNDS FOR REMOVAL

       4.        This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332 and 1441,

as this suit is a dispute among citizens of different states and the amount in controversy exceeds

$75,000.00. Furthermore, counts 8, 11, 20, 21, 27 and 28 of the Complaint involve federal

questions arising from the laws of the United States.

I.     THERE IS DIVERSITY OF CITIZENSHIP

       5.        According to the Complaint, Plaintiffs are individuals residing at 590 Truman

Highway, Hyde Park, Massachusetts. Accordingly, Plaintiffs are citizens of Massachusetts.

       6.        SPS is a Utah corporation and is a wholly-owned subsidiary of SPS Holding Corp.

SPS Holding Corp. is organized under the laws of the State of Delaware and is not a publicly-

traded corporation. SPS Holding Corp. is wholly owned by Credit Suisse (USA), Inc. Credit

Suisse (USA), Inc. is organized under the laws of the State of Delaware and is not a publicly-

traded corporation. For purposes of diversity jurisdiction under 28 U.S.C. § 1332, SPS is therefore
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a citizen of the State of Utah. See 12 U.S.C. § 1464(x); see also, Wachovia Bank, N.A. v. Schmidt,

546 U.S. 303, 306 (2006).

       7.      Bank of New York is a trust organized under the laws of the State of Delaware

with a principal place of business located at 383 Madison Avenue, New York, NY 10179. For

purposes of diversity jurisdiction under 28 U.S.C. § 1332, Bank of New York is therefore a citizen

of the State of New York.

       8.      Although defendant law firm Orlans has a principal place of business located in

Waltham, Massachusetts, Plaintiffs improperly joined Orlans as defendants to this action. Orlans

is foreclosure counsel. Courts have consistently held that foreclosure counsel are not proper

defendants in action seeking to contest a mortgage foreclosure auction where legal counsel merely

acts on behalf of the foreclosing mortgagee. Courts have routinely dismissed actions brought

against foreclosure counsel on a number of grounds applying Massachusetts law, including the

failure of any legal duty. See, e.g., Moore v. NovaStar Mortgage, Inc., C.A. No. 11-cv-10468-

MAP, 2011 WL 2899418, at *2 (D. Mass. July 15, 2011) (“Plaintiff’s attempt to impose some sort

of contractual duty on Defendant Albitt Law Offices based on the mortgage is unavailing.

Defendant Albitt Law Offices was not a party to the mortgage, and Plaintiffs can identify no legal

grounds on which the court could impose a duty of good faith as to them or the law firm

representing the party adverse to them in the foreclosure proceeding.”); see also Manson v. GMAC

Mortgage, LLC, 283 F.R.D. 30, 42 (D. Mass. 2012) (“The law firm defendants also argue that

even where certification proper, and even if Ibanez violations were uncovered, they owed no duty

to the putative class members with respect to three of the claims (wrongful foreclosure; improper

notice; and breach of the duty of good faith and reasonable diligence). The court agrees. A lawyer

representing a lender owes no duty to the borrower.”).
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       9.      Here, Orlans served as foreclosure counsel. Orlans, as foreclosure counsel, acted to

effectuate the foreclosure of the Property pursuant to applicable law. Fairhaven Savings Bank v.

Callahan, 391 Mass. 1011 (1984) (“We accept the judge’s determination that the plaintiff-

mortgagee conducted the foreclosure, with its lawyers merely assisting in the preparation of legal

documents.”). Furthermore, under the doctrine of fraudulent joinder, “removal is not defeated by

the joinder of a non-diverse defendant where there is no reasonable possibility that the state’s

highest court would find that the complaint states a cause of action upon which relief may be

granted against the non-diverse defendant.” Universal Truck & Equip. Co., Inc. v. Southworth-

Milton, Inc., 765 F.3d 103, 108 (1st Cir. 2014). “The linchpin of the fraudulent joinder analysis is

whether the joinder of the non-diverse party has a reasonable basis in law and fact.” Mills v.

Allegiance Healthcare Corp., 178 F. Supp. 2d 1, 4 (D. Mass. 2001).

       10.     Here, Plaintiffs’ claims against Orlans have no reasonable basis in law and fact

because they are barred by the litigation privilege. “Under Massachusetts law, an attorney’s

statements are absolutely privileged ‘where such statements are made by an attorney engaged in

his function as an attorney whether in the institution or conduct of litigation or in conferences and

other communications preliminary to litigation.’” Blanchette v. Cataldo, 734 F.2d 869, 877 (1st

Cir. 1984) (quoting Sriberg v. Raymond, 370 Mass. 105, 109 (1976)). The privilege applies as a

general bar to all civil liability based upon an attorney’s statements, and it applies even if the

offensive statements were uttered maliciously or in bad faith. Doe v. Nutter, McClennen & Fish,

41 Mass. App. Ct. 137, 140 (1996).

       11.     Thus, Orlans has no real connection to the controversy arising out of the foreclosure

of the mortgage at issue, and the claims against Orlans are barred by the litigation privilege.

Accordingly, Plaintiffs’ fraudulent joinder of Orlans does not defeat subject matter jurisdiction
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based on diversity, where “there right of removal cannot be defeated” by including separate claims

for recovery against the law firm. Carey v. Board of Governors of Kernwood Country Club, 337

F. sup. 2d 339, 341 (D. Mass. 2004) (quoting Healthcare Corp., 178 F. Supp. 2d 1, 4 (D. Mass.

2001)).

          12.     Accordingly, because Plaintiffs are citizens of Massachusetts, Bank of New York

is a citizen of New York and SPS is a citizen of Utah, this action is between citizens of different

states. 28 U.S.C. §1332.

II.       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00

          13.     Plaintiffs filed this 28-count, 193-paragraph Complaint alleging violations of state

and federal laws in connection with the origination of their mortgage loan in 2005. Plaintiffs also

assert that the chain of assignment to Bank of New York is defective on the basis that the

Assignment of Mortgage was consummated in violation of the operative Pooling and Servicing

Agreement, and that Mortgage Electronic Registration Systems, Inc., a prior holder of the

Mortgage, lacked the legal capacity to hold title to the Mortgage. The Complaint seeks monetary

damages totaling $4.3 million. The face value of the mortgage in question is $412,000. The

aggregate amount of Plaintiffs’ claim exceeds $75,000.00.

III.      THIS SUIT INVOLVES FEDERAL QUESTIONS ARISING UNDER THE LAWS
          OF THE UNITED STATES

          14.     Through their Complaint, Plaintiffs have alleged violations of 15 U.S.C. § 1125(a),

15 U.S.C. § 1681 and 15 U.S.C. § 1692. See Complaint, counts 8, 11, 20, 21, 27 and 28. Thus,

removal is proper pursuant to 28 U.S.C. §§ 1331 and 1441(c).
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IV.    PROCEDURAL PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED

       15.     Pursuant to 28 U.S.C. § 1391, venue is proper in the United States District Court

for the District of Massachusetts, as the Complaint in this action was filed in the Superior Court

Department of the Massachusetts Trial Court, Suffolk County, Boston, Massachusetts.

       16.     Defendants have filed a copy of this Notice of Removal with the Superior Court

Department of the Massachusetts Trial Court, Suffolk County, Boston, Massachusetts, as required

by 28 U.S.C. § 1446(d).

       17.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure in accordance with 28 U.S.C. § 1446. The statements and allegations contained herein

are true and correct to the best of the knowledge and belief of the undersigned based upon review

of the material available.

       18.     Based on the foregoing, Defendants have met their burden of establishing that this

Court has original jurisdiction over this civil action pursuant to 28 U.S.C. §§ 1331 and 1332.

       19.     This action is one which may be removed to this court by Defendants pursuant to

28 U.S.C. § 1441.

       20.     In removing this action, Defendants do not intend to waive any rights or defenses

to which it is otherwise entitled to under the Federal Rules of Civil Procedure.

       WHEREFORE, Defendants remove this action currently pending in the Superior Court

Department of the Massachusetts Trial Court, Suffolk County, Boston, Massachusetts to this Court

and respectfully requests that this Court assume jurisdiction of this matter and take all further steps

as may be required to determine this controversy.
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                                          Respectfully submitted,
                                          PARKER IBRAHIM & BERG LLP
                                          Attorney for Defendants,
                                          Select Portfolio Servicing, Inc. and The
                                          Bank of New York Mellon, formerly known
                                          as The Bank of New York as successor
                                          Trustee to JPMorgan Chase Bank, N.A., as
                                          trustee for the Certificateholders of
                                          Structured Asset Mortgage Investments II
                                          Trust 2006-AR4 Mortgage Pass-Through
                                          Certificates, Series 2006-AR4,


                                          /s/ Donald W. Seeley Jr.
                                          Jeffrey D. Adams, Esq. BBO# 662697
                                          Donald W. Seeley Jr., BBO# 663568
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                                          Email: jeffrey.adams@piblaw.com
                                                  Donald.seeley@piblaw.com



Dated: March 12, 2020
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                               CERTIFICATE OF SERVICE

       I, Donald W. Seeley Jr., Esq., hereby certify that on March 12, 2020 a true and correct
copy of the foregoing document was served upon all parties or counsel of record via this Court’s
CM/ECF system or, if not registered on this Court’s CM/ECF system, then by email and first
class mail, postage prepaid to:

       Robert Belcher
       590 Truman Highway
       Hyde Park, MA 02136

       Zarina Belcher
       590 Truman Highway
       Hyde Park, MA 02136


                                                    /s/ Donald W. Seeley Jr.
                                                    Donald W. Seeley Jr.
